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 · · · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · · · FOR THE DISTRICT OF COLORADO
 · · · · · · · · · ·CIVIL ACTION NO.: 1:21-cv-3417-NYW

 · · HOLLY KLUTH,

 · · · · · · · Plaintiff,

 · · vs.

 ·   · TONY SPURLOCK, Individually and in his official capacity as
 ·   · Douglas County Sheriff,
 ·
 ·   · · · · · · Defendant.
 ·   · _____________________________________

 ·

 · · · · · · · · · · · · · ·DEPOSITION OF KEVIN DUFFY

 ·

 · · · · · ·DATE TAKEN:· September 19, 2022

 · · · · · ·TIME:· 9:35 a.m. -· 6:33 p.m. MT

 ·

 · · · · · ·LOCATION:· · RATHOD MOHAMEDBHAI, LLC
 · · · · · · · · · · · · 2701 Lawrence Street, Suite 100
 · · · · · · · · · · · · Denver, Colorado 80205

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 · · · Reported By:

 · · · Jessica Wharton, Court Reporter

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 ·1· binder?

 ·2· · · ·A.· ·Which page?

 ·3· · · ·Q.· ·Topic number 24.

 ·4· · · ·A.· ·Okay.

 ·5· · · ·Q.· ·This topic number 24 covers, DCSO's decision of

 ·6· transfer and/or reassigned 25th, or about February 2021?· Do you

 ·7· see that?

 ·8· · · ·A.· ·Uh-huh.

 ·9· · · ·Q.· ·And is it your understanding that you've been

 10· designated to testify on behalf of the Douglas County Sheriff's

 11· Office on this topic?

 12· · · ·A.· ·I have.

 13· · · ·Q.· ·And are you prepared to do so?

 14· · · ·A.· ·I am.

 15· · · ·Q.· ·Okay.· Let's do that.· And again, when we're done with

 16· these 30(b)(6) questions, you know, I'll note that on the

 17· record.· So let's start.· Who decided to transfer Ms. Kluth from

 18· patrol to (inaudible)?

 19· · · ·A.· ·That would be the undersheriff and the sheriff.

 20· · · ·Q.· ·So -- so jointly decided?

 21· · · ·A.· ·We were all -- the chief, Chief Johnson and I were in

 22· the room when it was decided at that time that one of the things

 23· the sheriff recognized was the Highlands Ranch Law Enforcement

 24· Training Academy critical to the success of The Douglas County

 25· Sheriff's Office because we were taking over the largest role


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 ·1· within that academy.· During the last meeting we had when this

 ·2· transfer was decided was upon, was the sheriff made the decision

 ·3· that he needed a captain to be assigned up to the Highlands

 ·4· Ranch Law Enforcement Academy.· We've never had that before.· So

 ·5· he made the decision, and along with the undersheriff, with the

 ·6· agreement, Chief Johnson and myself, that Tim Moore would be

 ·7· transferred from detentions, where he was -- he was the chief.

 ·8· He was sent to detentions as the captain, that he would then go

 ·9· to the Highlands Ranch Law Enforcement Academy as the captain of

 10· the academy.· Now, we needed a captain with detentions division,

 11· another critical division within the department.

 12· · · · · · So it was discussed at that time, it was agreed upon,

 13· that Nicholson-Kluth would be transferred from patrol to the --

 14· the -- to the detentions division.· I was in full support of

 15· that.

 16· · · ·Q.· ·So I wanna ask you a little bit more detail about all

 17· these decisions.· It sounds like there was sort of a decision

 18· making period that spanned a couple weeks in February; is that

 19· fair to say?

 20· · · ·A.· ·January and February, but yeah.· Primarily in

 21· February.

 22· · · ·Q.· ·And it was precipitated by the need to put someone

 23· into the academy as you said?

 24· · · ·A.· ·Correct.

 25· · · ·Q.· ·And as I think you testified earlier in your


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 ·1· individual capacity, there was kind of an interative (sic)

 ·2· process where first, the decision was made to go from two patrol

 ·3· captains down to one, correct?

 ·4· · · ·A.· ·Right.

 ·5· · · ·Q.· ·And Captain Kluth was initially slated to continue on

 ·6· as the patrol division captain?

 ·7· · · ·A.· ·That's correct.

 ·8· · · ·Q.· ·The older one?

 ·9· · · ·A.· ·Right.

 10· · · ·Q.· ·And then that changed at some time?

 11· · · ·A.· ·With movement of Tim Moore to the academy, a decision

 12· was to be made on who's gonna take over as the division

 13· commander of the jail.

 14· · · ·Q.· ·So the decision making regarding transfers, you said

 15· possibly starting in January?

 16· · · ·A.· ·More February, but I mean, that's when we started

 17· making the, you know, you have to understand, going back to

 18· where something in my 33 years never has happened before to

 19· where an undersheriff was demoted and the chief was demoted,

 20· that's never happened before.· So there was a lot of movement, a

 21· lot of newness to this, to the department into the command

 22· staff.· So we were making a lot of adjustments during that time

 23· period.

 24· · · ·Q.· ·And part of that is sort of the unprecedented

 25· structure having two to co-captains?


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 ·1· · · ·A.· ·That was one of the -- that was one of the problems,

 ·2· or not problem, but one of the areas that was new was having two

 ·3· patrol captains.

 ·4· · · ·Q.· ·And then, it was your recommendation to the

 ·5· undersheriff and the sheriff to go back down to one captain?

 ·6· · · ·A.· ·I thought we -- it was my -- I -- I felt that we could

 ·7· do this with one captain on patrol.

 ·8· · · ·Q.· ·And that was the opinion you voiced?

 ·9· · · ·A.· ·It was opinion I voiced based on my experience of

 10· having two captains and the conflict that we started having from

 11· literally the minute we brought two captains in, they were in

 12· conflict from almost the beginning.

 13· · · ·Q.· ·And what did you say to Undersheriff Walcher and

 14· Sheriff Spurlock about that conflict during this February time

 15· period?

 16· · · ·A.· ·Well, I -- I -- I keep my undersheriff appraised on

 17· what's going on almost on a daily basis.· Different areas that

 18· things are going well, different areas that we're trying to

 19· improve, different areas that we're -- we're having problems.

 20· He's my direct supervisor, plus he needs to be in the know of

 21· what's going on personnel-wise.· If there's any changes or

 22· movements or problems areas.· So I kept him appraised.· He knew

 23· of conflicts that have occurred with -- within -- with the two

 24· captains, conflicts that I had personally with Captain Nicholson

 25· in regards to conflicts she was having with me.· He was very


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 ·1· well aware of it.

 ·2· · · · · · So when I voiced my recommendation that I felt now,

 ·3· you know, understanding I'd only been the law enforcement bureau

 ·4· chief since November 19th, that I could -- we could manage the

 ·5· patrol division with one captain, that -- that I can do this,

 ·6· that it would be best for the department to have one captain in

 ·7· the patrol division.· And they were both in agreement, which

 ·8· made the decision at that time, we needed a new captain in the

 ·9· detention division.· It was decided that Nicholson-Kluth would

 10· go to detentions.

 11· · · ·Q.· ·So -- so is it fair to say that you really discuss the

 12· conflict between the patrol captains because you felt that

 13· Undersheriff Walcher was already aware of it.

 14· · · ·A.· ·Correct.

 15· · · ·Q.· ·So the discussion that you, Chief Johnson,

 16· Undersheriff Walcher, and Sheriff Spurlock had in deciding these

 17· personnel moves didn't involve a discussion of the conflict

 18· between the two patrol captains?

 19· · · ·A.· ·I'm really -- I'm not quite understanding how you're

 20· wording the question, 'cause you asked me if the undersheriff

 21· was -- knew of the conflict, and the answer was yes, he'd

 22· already known about it.· So specific at that meeting, did he

 23· discuss conflict between the two captains?· I would probably say

 24· no, because that situation had already been semi-resolved

 25· because Captain Jensen had already been placed on administrative


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 ·1· · · ·Q.· ·Okay.· So this is the kind of situation that happens

 ·2· from time to time.

 ·3· · · ·A.· ·It happens.

 ·4· · · ·Q.· ·And this was the first time that had happened with

 ·5· Ms. Kluth.

 ·6· · · ·A.· ·Yep.

 ·7· · · ·Q.· ·Sand that's why you put in here?

 ·8· · · ·A.· ·Right.

 ·9· · · ·Q.· ·Okay.· Let's talk about your final entry here, which

 10· begins on the first page of the exhibit, titled comment slash

 11· demeanor.· What is this entry?

 12· · · ·A.· ·This entry was a -- was made based on what I consider

 13· a very serious conflict between the captain and myself.· When I

 14· took over the division, one of the things that I told the

 15· cap --the two captains, was that I was gonna meet privately with

 16· all the lieutenants within the entire law enforcement bureau, so

 17· not just patrol, but also investigations and Highlands Ranch

 18· industrial, because I wanted to hear from the lieutenants.· This

 19· is an opportune time.· Brand new law enforcement bureau chief,

 20· new captains.· I wanted to hear from the lieutenants on what

 21· they felt were identifying some of the areas of concern they

 22· might have, some of the areas that they think we need to work on

 23· as a division.

 24· · · · · · So I told the captains that I was gonna meet with

 25· lieutenants and I was gonna get their input.· And once I got all


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 ·1· their input, then I was gonna sit down with the captains and go

 ·2· through that, which was fine.· But we had a problem with that.

 ·3· Then, as the couple month --more months passed on Captain

 ·4· Jensen's on administrative leave, most likely gonna get demoted

 ·5· or fired.· We're gonna have --we're gonna go back from two

 ·6· captains to one captain.· We're gonna be moving people around.

 ·7· The office is in flux, right?· So I wanted to meet again with

 ·8· the lieutenants privately.· Because one of the things that I'm a

 ·9· firm believer on is core foundation of our department is the

 10· leadership of our lieutenants.· Chiefs and captains, we have our

 11· roles, we have our duties and responsibilities.· But the rubber

 12· meets the road with our lieutenants of all divisions.· They're

 13· the ones that take our orders and our direction that we've

 14· gotten from the sheriff and the undersheriff, and they make it

 15· happy.

 16· · · · · · They're also what's crucial with lieutenants, they are

 17· really the pulse of the agency.· They can either be the ones

 18· that cause morale to just drop or keep morale and keep spirits

 19· up and keep people focused.· And that's what I constantly

 20· focused on, is reminding the lieutenants, you, ladies and

 21· gentlemen, are the ones who keep this agency moving forward.

 22· · · · · · So I wanted to be lieutenants privately just to send

 23· them a message from myself as the law enforcement chief was now

 24· more than ever, with all the stuff that this department's going

 25· through, stuff that we never gone through in my career.· As I


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 ·1· said earlier, we've never demoted an undersheriff before.· We'd

 ·2· never demoted chiefs like this before.· We've never had this

 ·3· much change in command staff.

 ·4· · · · · · I wanted to meet with the lieutenants privately just

 ·5· to tell them, keep your eye on the ball, keep morale up, tell

 ·6· the troops, everything's gonna be okay.· Just keep doing what

 ·7· you're supposed to be doing.· Right?· It was a real simple

 ·8· concept.· When Captain Nicholson-Kluth found out that I wanted

 ·9· to meet with the lieutenants privately, she emailed me and

 10· wanted to know -- she felt it was wrong that I do that, that I

 11· meet with the lieutenants privately.· She felt that was a

 12· violation of the chain of command, which is not.

 13· · · · · · She also wanted to be there.· And I came back to her

 14· and said, no.· I wanna meet with these lieutenants privately

 15· because I knew the message that I wanted to send them.

 16· Oftentimes, when you start bringing too many bars and stars into

 17· the picture, people have a tendency not to speak freely.

 18· Trusted my lieutenants.· They trusted me.· I felt they -- if

 19· they had anything concerning or wanted to talk about, they would

 20· bring it out.· And that wasn't a reflection against Captain

 21· Nicholson-Kluth or any of the other captains.· I just had

 22· that --I felt I had that rapport with the lieutenants, and I

 23· wanted to meet with them privately.· I felt they deserved that.

 24· But I also wanted to discuss with them how important I felt they

 25· were in making sure that our morale, that our mission is


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  ·1· maintained.

  ·2· · · · · · So I did meet with the lieutenants.· And then, she

  ·3· sent an email to me basically accusing me of policy violations,

  ·4· that I violated policy, which is a serious accusation that I

  ·5· violated policy in this office.· Plus she was upset that I asked

  ·6· the administrative secretary to come to the meeting and not her.

  ·7· Well, the only reason I asked the administrative secretary is I

  ·8· need somebody to take the notes so I could have an open

  ·9· dialogue.· This person over here could take the notes for me,

  10· full attention on the notes were gonna be taken, and that I was

  11· gonna share that with the captains.· There's no secrets here.              I

  12· just wanted to have that meeting face-to-face with just the

  13· lieutenants.

  14· · · · · · She came to me in an email accusing me of violating

  15· policy.· So I'm now an executive officer for this department

  16· who's being accused of violating policy.· What do I do with

  17· that?· Right?· I'm not gonna turn myself into internal affairs

  18· or go to internal affairs.· So I went to my boss, the

  19· undersheriff.· I went to him, said, this is what's going on.

  20· This is what I've been accused on.· What do you want me to do

  21· here?· You replied back to me, I want you to send me that email.

  22· I want look at it, and I'll handle it.· I sent him the email.

  23· And then the undersheriff sent a reply back to her basically

  24· saying that having --that her allegation that I violated a

  25· policy was unfounded and that actually he supported what I was


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  ·1· trying to do here.· And that, as a chief, I have the full right

  ·2· to go talk to anybody I want to.· And that's something I talk

  ·3· about all the time.

  ·4· · · · · · So one of the things that I made very, very clear,

  ·5· have always made as a lieutenant and then as a captain, that

  ·6· people have come to me, you know, supervisors saying, hey, Chief

  ·7· Johnson, for example, it's down over here talking to a sergeant,

  ·8· and he didn't come talk to me first.· And I would always look at

  ·9· them, like, he's a chief.· He can go talk to anybody he wants.

  10· Or the sheriff is down here talking to deputy, or the

  11· undersheriff's down here talking to detective.· I've always had

  12· the same attitude.· People above me, they can go talk to anybody

  13· they want to about anything.· That's their -- that's -- they're

  14· the boss.

  15· · · ·Q.· ·So -- so other -- you've heard this kind of complaint

  16· before from --

  17· · · ·A.· ·I've heard it tro -- from troops upward, that, you

  18· know, like a lieutenant who gets mad a chief that went down and

  19· talked to a sergeant, right?· And I've always, like, made it

  20· very, very clear they absolutely can do that.· The only thing

  21· that I asked as a respect was absolutely we're open book here.

  22· To answer any questions you want -- they ask of me.· Just do me

  23· a favor, when you're done with the conversation, just let me

  24· know what -- what they're -- what they need so that, again, I'm

  25· not caught off guard.· I did the exact same thing.· That's why I


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  ·1· be let go on the will and the pleasure of the sheriff for any

  ·2· reason, for any time.· So it doesn't -- for me there -- there's

  ·3· not a lot of reason that needs to be given.· I knew, always have

  ·4· known, that I worked at the pleasure of the sheriff.

  ·5· · · ·Q.· ·So essentially, another reason would be that she --

  ·6· the sheriff no longer wanted her to work there.· Is that right?

  ·7· · · ·A.· ·It's his final decision.

  ·8· · · ·Q.· ·And beyond the investigation into the records deletion

  ·9· and just the mere fact that Sheriff Spurlock no longer wanted

  10· her to work there, are you aware of any other reasons why she

  11· was terminated?

  12· · · ·A.· ·I think, you know, I've had -- like I said earlier, I

  13· did meet pretty much two or three times a week with the

  14· undersheriff just appraise him of the operations with inside the

  15· law enforcement bureau.· I think the undersheriff recognized

  16· that I was dealing with a lot of conflict between the two

  17· captains, that there was -- they weren't -- either one of the

  18· captains were acting in the manner in which he, as the

  19· undersheriff, would expect cap -- captains of that rank and that

  20· responsibility to behave.· Obviously, a very serious internal

  21· investigation was done on Captain Jensen, which led to his

  22· eventual termination, and so I -- I -- I believe, I don't have

  23· again, I don't -- not privy to the exact reasons.· But working

  24· for this office, as long as I've worked for this office, working

  25· for the sheriff, working for the undersheriff, if those two came


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  ·1· to me with a termination saying that someone is being

  ·2· terminated, they don't have to give me a justification or a

  ·3· reason.· I take them that they had full justification to take

  ·4· the action that they did.

  ·5· · · ·Q.· ·Did you ever recommend that Ms. Kluth be terminated

  ·6· to --

  ·7· · · ·A.· ·Me, personally?

  ·8· · · ·Q.· ·Yeah.

  ·9· · · ·A.· ·No.

  10· · · ·Q.· ·And you mentioned your meetings with Undersheriff

  11· Walcher about both Ms. Kluth and Captain Jensen, right?

  12· · · ·A.· ·Correct.

  13· · · ·Q.· ·How are those connected, in your mind, to her

  14· termination?

  15· · · ·A.· ·I don't know if they're connected.· I know that

  16· the --there was conflict.· There was behavior by two executive

  17· officers or captains that is not conducive to what the

  18· undersheriff expects of men and women of that rank and the level

  19· of experience.· We are placed in these positions for a reason.

  20· But we have -- but we're held to a high standard of how we're

  21· supposed to maintain ourselves and act.· And if we don't meet

  22· them standards or we fail to meet those standards, the sheriff

  23· undersheriff are full within the right to terminate us.

  24· · · ·Q.· ·So you said that the captains, Captain Kluth and

  25· Captain Jensen were not meeting the standard that Undersheriff


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  ·1· where I wanted to come in and deliver a message of the direction

  ·2· I wanted to go.· And so, you know, I was hoping that with me

  ·3· coming in and kinda stating my vision of where we wanted to go

  ·4· with the captains present, the lieutenants would understand, or

  ·5· would at least perceived it the way that was meant to be, that

  ·6· the two captains and the chief were all heading this direction.

  ·7· So these are the -- some of the change is subtle, some of the

  ·8· change is not.· It's just, you know, there was -- there was

  ·9· several times where I was challenged on some of the things that

  10· were going on in patrol.· But, you know, I would -- sometimes

  11· I'd go in and talk to the undersheriff and get his advice on how

  12· maybe he would handle certain things and different challenges I

  13· was dealing with to get some of his advice.· Those aren't types

  14· of things we would sit down and turn and document.· You just

  15· kind of learn from.

  16· · · ·Q.· ·So other than that email chain where you pointed out

  17· that they weren't on the same page, you don't recall a specific

  18· time that you would've talked to Ms. Kluth about any conflict

  19· with Captain Jensen?

  20· · · ·A.· ·Not specifically with Ms. Kluth.· There was several

  21· examples of where it was obvious to everyone that they weren't

  22· in agreement on certain things that were being done in patrol.

  23· · · ·Q.· ·What are those obvious examples?

  24· · · ·A.· ·Example number one and the most serious one that

  25· needed to get rectified right away was our -- how we would


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  ·1· monitor and review pursuits.

  ·2· · · ·Q.· ·Can you explain how it was obvious that there is a

  ·3· conflict between them?

  ·4· · · ·A.· ·Well, coming into the law enforcement bureau, I was

  ·5· aware of our pursuit policy.· We have a very aggressive pursuit

  ·6· policy within the sheriff's office.· We're one of one of the few

  ·7· law enforcement agencies in the front range that actually has a

  ·8· pursuit policy.· Most of the law enforcement agencies have just

  ·9· continued pursuits 100 percent that do not allow their officers

  10· to pursue.· We do.· However, one of the things that came across

  11· my desk that became very, very obvious, again, through Captain

  12· Nicholson-Kluth was that the pursuits were not being reviewed by

  13· the law enforcement bureau chief.· So we have a review process

  14· with the pursuit where the patrol officer or several patrol

  15· officers are involved to pursuit.· We have a very clear and

  16· state policy on that.· Then that pursuit is then reviewed by

  17· the -- going up the chain of command through the sergeant, the

  18· lieutenant, unless the sergeant's involved, the lieutenant

  19· reviews it.· The lieutenant makes a ruling on whether or not the

  20· pursuit is in policy.· It would then go to the captain, and he

  21· would make a review to determine that the pursuit was or was not

  22· in policy.· What I learned from it and what Holly

  23· Nicholson-Kluth learned was that's where it stopped was those

  24· pursuits were never then presented to the law enforcement bureau

  25· chief.


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  ·1· could possibly make it.

  ·2· · · ·Q.· ·And at some point, you instructed Ms. Kluth that she

  ·3· needed to come out one side or the other when she's reviewing --

  ·4· · · ·A.· ·Make a decision.

  ·5· · · ·Q.· ·-- pursuits, correct?

  ·6· · · ·A.· ·Correct.

  ·7· · · ·Q.· ·And after you told her that, was that an issue with

  ·8· her going forward?

  ·9· · · ·A.· ·I -- I think that was an issue still.· I can't

  10· remember any specifics.· I believe there was two pursuits.· In

  11· fact, I know there was one pursuit that -- where she ruled it as

  12· it was clearly out of policy, but it -- because it only lasted a

  13· very short amount of time, like a minute and 30 seconds.· She

  14· thought it was okay.· We're talking about an officer who was

  15· engaged in the pursuit that his car wasn't even working properly

  16· His lights weren't working, the siren wasn't working, his

  17· body-worn camera wasn't working, knew that it wasn't working.

  18· That officer had no business chasing a car.· But because he only

  19· did it for a minute and 30 seconds, she was gonna say that it

  20· was okay.· And I was like, nope.· That's not okay.· He should've

  21· known that and we're gonna do -- we're gonna take some steps.

  22· · · ·Q.· ·And so you disagreed on the application of the policy

  23· to that pursuit?

  24· · · ·A.· ·Yeah.· Yeah.· He was clearly out of policy.· He had no

  25· business pursuing a car even if it was only for a minute and 30


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  ·1· · · ·A.· ·I don't think so.

  ·2· · · ·Q.· ·Other than the meeting on of DCSO 89 and 90, that was

  ·3· with the -- the meeting note about the sheriff saying no to

  ·4· captains on patrol being reclassified as essential.

  ·5· · · ·A.· ·Correct.

  ·6· · · ·Q.· ·Other than that meeting, did you ever discuss

  ·7· Ms. Kluth's request with the executive team?

  ·8· · · ·A.· ·No.

  ·9· · · ·Q.· ·Can I turn your attention to -- well let me ask you

  10· first.· Do you recall an issue with Ms. Kluth and her Tweets?

  11· · · ·A.· ·I remember it came up in a executive officers meeting

  12· where, it was either the sheriff or the undersheriff, might've

  13· been the, undersheriff, to where they brought to my attention

  14· that they believed that the two captains, Captain Jensen and

  15· Captain Nicholson-Kluth were engaged in what was referred to as

  16· a Twitter war, where they were trying to one-up each other.

  17· Again, conflict.· I don't have social media.· I don't tweet.

  18· I -- I have a tweet (sic) account, but I've never used it.                I

  19· wouldn't know how to use it.· But, basically, the sheriff, I

  20· thought it was the sheriff, might've been the undersheriff, they

  21· just said that the captains were engaged in the Twitter war,

  22· which means it's out in the public and that there was also some

  23· concerning tweets that were going out by a deputy, Deputy

  24· Shannon Jensen, related to Cole case investigations that she was

  25· no longer part of.· And that were you re-tweeted by Captain


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  ·1· Jensen, and that basically they directed me that this so-called

  ·2· Twitter war between the two captains is gonna come to a halt.

  ·3· · · ·Q.· ·And what did you do after that?

  ·4· · · ·A.· ·I brought it to the captains' attention in a meeting

  ·5· to where it's been brought to my attention that you guys' tweets

  ·6· are being viewed on as, like, a Twitter war.· You're trying to

  ·7· one each -- one-up each other, so stop it.

  ·8· · · ·Q.· ·And we've looked at your meeting notes, those are in

  ·9· Exhibit 29.· They tend to be pretty detailed, right?· You said

  10· you were known as someone who -- who keeps detailed notes,

  11· right?

  12· · · ·A.· ·I try to.

  13· · · ·Q.· ·So if there's no other mention of -- of a meeting with

  14· Captain Jensen and Kluth about their tweets, is it fair to

  15· conclude that it didn't happen?

  16· · · ·A.· ·That what didn't happen?

  17· · · · · · MR. O'CONNELL:· Objection, form.· Sorry.

  18· BY MR. BOHNET-GOMEZ:

  19· · · ·Q.· ·If we don't have any meeting notes from you or

  20· calendar event about a meeting that you had with them about

  21· their tweets, is it fair to conclude no such meeting happened?

  22· · · ·A.· ·I'm still not understanding your question.· It was

  23· brought to my attention that the captains were having a -- a

  24· proceeding in some type of Twitter war where they're trying to

  25· one each other and they wanted it to stop.· I believed I brought


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  ·1· · · ·Q.· ·You did not report to them that Ms. Kluth refused to

  ·2· include other captain in the training?

  ·3· · · ·A.· ·I don't -- I don't recall ever going to the executive

  ·4· team on that.· I know that, like I said earlier, this caused

  ·5· some consternation with Captain Jensen and the captain of the

  ·6· training unit in subsequent emails about what needed to be done

  ·7· and who was gonna do what and stuff.· And they pushed back on

  ·8· him pretty hard.· But it was still from the onset of this email,

  ·9· it was still an idea that I supported.

  10· · · ·Q.· ·And that -- that consternation was, in essence, that

  11· Captain Jensen didn't feel that training was necessary and

  12· Captain Kennedy was having to do extra work?

  13· · · ·A.· ·Yeah.

  14· · · ·Q.· ·Would it be accurate to say that Ms. Kluth refused to

  15· share solutions with her colleagues as to the substance of the

  16· training?

  17· · · ·A.· ·Not sure what you're asking.· Refuse to share

  18· solutions?

  19· · · ·Q.· ·You don't have any knowledge that Ms. Kluth refused to

  20· share the solutions identified in the training, though?· As far

  21· as you're --

  22· · · ·A.· ·As far as I know, yeah.

  23· · · ·Q.· ·As far as you know, this was example of collaboration

  24· and good communication on her part?

  25· · · ·A.· ·There was a very good example of identifying an issue


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  ·1· endorsed -- I -- I supported him.

  ·2· · · ·Q.· ·And when did he come to you and tell you he was gonna

  ·3· run?

  ·4· · · ·A.· ·I don't recall the exact date.

  ·5· · · ·Q.· ·Was it before he publicly announced?

  ·6· · · ·A.· ·Might've been.· Probably was.

  ·7· · · ·Q.· ·How far in advance of that?

  ·8· · · ·A.· ·I don't recall.· I don't rece -- I don't even recall

  ·9· when he formally announced his candidacy, but whatever date that

  10· was, I'm sure it was before that.

  11· · · ·Q.· ·And had you formally en -- endorsed him?· In any way?

  12· · · ·A.· ·Formally?· No.· He never asked me to.

  13· · · ·Q.· ·Okay.· Let's mark this as Exhibit 57.

  14· · · · · · (Exhibit No. 57 marked for identification)

  15· BY MR. BOHNET-GOMEZ:

  16· · · ·Q.· ·Okay.· You have Exhibit 57 in front of you.· It's a

  17· portion of a Facebook post and it's marked KLUTH 1572.· Do you

  18· see that?

  19· · · ·A.· ·I do.

  20· · · ·Q.· ·This is a endorsement of Lisa Neal-Graves for county

  21· commissioner by your wife, correct?

  22· · · ·A.· ·Correct.

  23· · · ·Q.· ·Have you and your wife made a similar endorsement of

  24· Darrin Weekly?

  25· · · ·A.· ·Again, I don't have any social media, so I have never


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  ·1· posted anything.· My wife is a citizen of Douglas County, she

  ·2· can endorse whomever she feels.· This is -- she endorsed Lisa

  ·3· Neal-Graves.· She mentioned me in here.· I have no problem with

  ·4· her doing that, but this was her endorsement of Lisa

  ·5· Neal-Graves.

  ·6· · · ·Q.· ·She run the text of the endorsement by you before?

  ·7· · · ·A.· ·I don't think she ran the text by me.· She just said

  ·8· that she was gonna put something out on Facebook endorsing Lisa

  ·9· Neal-Graves and I was fine with it.· She's a citizen of Douglas

  10· County.· She's free to do whatever wants to.

  11· · · ·Q.· ·And you were making campaign donations to Darrin

  12· Weekly's campaign, correct?

  13· · · ·A.· ·I have.

  14· · · ·Q.· ·Let's mark this is 58, please.

  15· · · · · · (Exhibit No. 58 marked for identification)

  16· · · · · · THE REPORTER:· Do you want to give me a title?

  17· · · · · · MR. BOHNET-GOMEZ:· Duffy contributions.

  18· · · · · · THE REPORTER:· Thank you.

  19· BY MR. BOHNET-GOMEZ:

  20· · · ·Q.· ·Okay.· You've got in front of you what's been marked

  21· as Exhibit 57.

  22· · · · · · THE REPORTER:· 58.

  23· BY MR. BOHNET-GOMEZ:

  24· · · ·Q.· ·58, 58.· Excuse me.· And this is -- represent to you

  25· this is a PDF of campaign contributions from Kevin Duffy, the --


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  ·1· · · · · · · · · · · ·CERTIFICATE OF REPORTER

  ·2

  ·3· · · · · STATE OF COLORADO· · · · · · · · · )
  · · · · · · · · · · · · · · · · · · · · · · · ·)
  ·4· · · · · COUNTY OF DENVER· · · · · · · · · ·)

  ·5

  ·6· · · ·I, Jessica Wharton, Court Reporter, do hereby certify that

  ·7· I was authorized to and did electronically report the deposition

  ·8· of KEVIN DUFFY; that KEVIN DUFFY was duly sworn on the date

  ·9· indicated; that the questions and answers thereto were reduced

  10· to typewriting under my direction; that a review of the

  11· transcript was requested; and that the foregoing is a true and

  12· accurate electronic recording of the proceedings.

  13· · · ·I FURTHER CERTIFY that I am not a relative, employee, or

  14· attorney, or counsel of any of the parties, nor am I a relative

  15· or employee of any of the parties' attorneys or counsel

  16· connected with the action, nor am I financially interested in

  17· the action.

  · · · · · · · · · ·DATED this 4th day of October 2022.

  19

  20· · · · · · · · ____________________________
  · · · · · · · · · Jessica Wharton, Court Reporter
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  ·1· · · · · · · · · ·CERTIFICATE OF TRANSCRIPTIONIST

  ·2

  ·3· · · ·I, Monica Walters, do hereby certify that I transcribed the

  ·4· electronic recording produced by Jessica Wharton, court reporter

  ·5· of the Deposition of KEVIN DUFFY; and that the foregoing

  ·6· transcript is a true transcript of said electronic recording.

  ·7· · · ·I FURTHER CERTIFY that I am not a relative, employee,

  ·8· attorney, or counsel of any of the parties, nor am I a relative

  ·9· or employee of any of the parties' attorneys or counsel

  10· connected with the action, nor am I financially interested in

  11· the action.

  12· · · · · · DATED this 4th day of October 2022.

  13

  14

  15· · · · · · __________________________________
  · · · · · · · Monica Walters
  16

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